     Case: 1:17-cv-06361 Document #: 20 Filed: 12/07/17 Page 1 of 1 PageID #:64

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Martha Espinoza
                                   Plaintiff,
v.                                                      Case No.: 1:17−cv−06361
                                                        Honorable John J. Tharp Jr.
Target Corporation, et al.
                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, December 7, 2017:


        MINUTE entry before the Honorable John J. Tharp, Jr:Upon receipt of the
plaintiff's notice of voluntary dismissal without prejudice [19] pursuant to Fed. R. Civ. P.
41(a)(1)(A)(i), this case is concluded. All future dates and deadlines are stricken; all
pending motions are denied as moot. Civil Case terminated.Mailed notice(air, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
